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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  MSM DESIGN AND ENGINEERING LLC,

         Plaintiff,                                          Case No.: 1:20-cv-00121

  v.                                                         Judge John F. Kness

  THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sidney I. Schenkier
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                DEFENDANT
              409                                  Kanewwf
              345                                   S-Teck
              426                                  Bulkbuy
              455                                   Gomo
              533                                 focalvalue
               22                                   bolong


DATED: June 15, 2020                                Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
                                                    Telephone: 312-675-6079
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-00121 Document #: 92 Filed: 06/16/20 Page 2 of 2 PageID #:3839




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 15, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
